                                                                               Case 3:07-cv-05944-JST Document 3617 Filed 02/19/15 Page 1 of 2




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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER GRANTING MOTION TO
                                                                         10   This Order Relates To:                  )   WITHDRAW AS COUNSEL
                               For the Northern District of California
United States District Court




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                                                                              ALL ACTIONS                             )
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                                                                         18        Now before the Court is a motion filed by Marc H. Kallish of
                                                                         19   Freeborn & Peters LLP to withdraw as counsel on behalf of Defendant
                                                                         20   Koninklijke Philips Electronics N.V. and Philips Electronics North
                                                                         21   America Corporation (collectively, "Philips").         ECF No. 3479.   The
                                                                         22   time to file a responsive brief passed on February 9, 2015, and no
                                                                         23   opposition was filed.
                                                                         24        In support of his motion, counsel points out that the limited
                                                                         25   purpose for which he appeared is now complete.         Furthermore,
                                                                         26   Philips did not object to Mr. Kallish's withdrawal, and Philips
                                                                         27   remains represented in this matter by other counsel.
                                                                         28        Because written notice has been given, there is no objection,
                                                                               Case 3:07-cv-05944-JST Document 3617 Filed 02/19/15 Page 2 of 2




                                                                          1   and Philips remains represented by counsel, there is no need for
                                                                          2   conditional withdrawal.     See Civ. L.R. 11-5.      Accordingly, the
                                                                          3   motion is GRANTED.
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                                                                          5        IT IS SO ORDERED.
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                                                                          7        Dated: February 19, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
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                               For the Northern District of California
United States District Court




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